          CASE 0:20-cv-01791-PJS-BRT Doc. 30 Filed 05/18/21 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                                 District of Minnesota


Chester C. Graham                                        JUDGMENT IN A CIVIL CASE
                                 Plaintiff(s),
v.                                                       Case Number: 20‐cv‐01791‐PJS‐BRT
Edge Financial, Inc.

                                 Defendant(s).




☐ Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
   and the jury has rendered its verdict.

☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

defendant’s motion to dismiss [ECF No. 18] is GRANTED and this matter is
DISMISSED WITHOUT PREJUDICE.



     Date: 5/18/2021                                          KATE M. FOGARTY, CLERK
